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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,
                                                           Case No. 23-CR-00118 (AT)
        v.
                                                          [PROPOSED] ORDER FOR
 HO WAN KWOK, et al.,
                                                         ADMISSION PRO HAC VICE
                          Defendants.
                                                                    ECF CASE



       The motion of Edward Patrick Gilman, for admission to practice Pro Hac Vice in the above-

captioned action is granted.

       Applicant has declared that he is a member in good standing of the bars of the District of

Columbia and the State of Illinois; and that his contact information is as follows:

                                    Edward Patrick Gilman
                                   BROWN RUDNICK LLP
                               601 Thirteenth Street NW Suite 600
                                    Washington, D.C. 20005
                                      Tel: (202) 536-1730
                                      Fax: (617) 289-0830
                                  pgilman@brownrudnick.com

       Applicant having requested admission pro hac vice to appear for all purposes as counsel for
Defendant Ho Wan Kwok in the above-entitled action;
       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the
above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.


DATED:
                                                    Honorable Analisa Torres
                                                    United States District Judge
